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V.
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BRYAN LEE ESTEP                                :

                                    STA TEM EN T O F FA CTS

        ThisStatem entofFactsbriefly sum marizesthefactsand circum stancessurrotmding the
defendant'scrim inalconduct. Itdoesnotnecessarily contain a1ltheinform ation obtained dtlring
this investigation and applicable to an acctlrate Presentence Reportand Sentencing Guidelines
calculation.Theoffensets)describedbelow occurredwithintheW esternDistrictofVirginia.
        This statem entoffacts is notprotected by profferagreem entorany other agreem ent,and
shallbewholly admissibleatkialnotwithstanding any Rulesorstatutesto theconkary,
including butnotlimitedto,FederalRulesofEvidence408 and 410,and FederalRuleof
Crim inalProcedure 11,in theeventthatthedefendantisultim ately charged with and doesnot
pleadguiltyinconnectionwiththeoffensets)outlinedbelow andidentifiedintheplea
agreem ent.

       Ifthism atterwereto proceed to kial,theUnited StatesofAmericawouldprove,by
relevantand adm issible evidence,beyond areasonable doubtthe following:

       On August22,2018,Luray PoliceDepartmentofficershad probablecauseto stop and -
                                          l

did stop thedefendant'svehiclenearLuray,Virginia.Thereafter,apolicecmiine alerted to the

presenceofnarcoticsin thedriver'sside doorofthevehicle.Additionally,asthedefendant

stepped outofthevehicle,asyringewasvisible inhispants'pocketand felltotheground.

2.     Officerssearched thevehicle and found thefollowing item sofinterest:

              On thepassengerseatofthevehiclewasablack zipperwalletcontaining two

              plasticbaggiescontaining alargequantity ofm ethamphetnmineand the

              defendant'sV irginia Driver's License;

       B.     On thedriver'sseatofthevehicle,multiplesyringesw erefound lying on theseat

              and the floorboard;


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               In the driver's-sidedoor,anotherplasticbaggieofmethamphetnminewaslocated;

       D.      In thetrunk ofthe vehicle,insidea lunch box,a smallerplastic baggiecontaining

               m etham phetam ine w asfound;

       E.      A black pouch containing cIrug paraphernalia;

               Estep'scellphone;and,

               Crystalresidueinside avacullm cleanerin thevehicle.

       On thesnme day,afteradvisingthedefendantofhisM irandarightsand having him

executea M irandarightswaiverform ,officersinterviewedthe defendant,who m adethe

follow ing statem ents:

       A.      H eknew hehad been stoppedbecauseoftheapproxim ately three ouncesof

               methamphetaminethatwasfound in hiscar;

       B.      Hehad used methamphetamineforthefirsttim ein Decemberof2017;

       C.      Hehad progressed from being auserofm ethmnphetmnineto som eonewho was

               buying largeam ountsofmethamphetnm inefordistribution,and distributing it;

       D.      From late2017untilhewasarrestedinAugust2018he(withtheassistanceof
               otherindividuals)hadbeenpickinguppoundsofmethamphetaminefrom
               som eonein Olclahom aand driving back to Edinburg with it.;

       E.      Hem adetllree differenttripswith the assistanceofotherindividualsto

               Olclahom a,wherethey had picked up approxim ately 19poundsof

               methamphetnmine(valuedinexcessof$79,000),andbroughtitbacktoVirginia;
       F.      Dtlriizg hism ostrecenttrip hehad picked up 15potmdsofmethnmphetamineand

               broughtitback to V irginia;and,
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         G.    Hecurrently had approxim ately 7 poundsofmethamphetam inein acoolerin his

               living room athisresidencein Edinburg,VA .

4.       On thesnme day,officersexecuted a search wan'
                                                     antatEstep'sresidence,whereofficers

         found additionalmethnmphetamineand$36,500.
5.       Laboratory Analysisconducted by theVirgirliaDivision ofForensicSciencesconfirmed

thatvariousitemspossessedby thedefendant(inllisvehicleandresidence)contained
m ethnm phetnm ine:

         A.    Item 13 wasdeterm inedto be4.07 + 0.05 gram sofmaterial,found to contain

               Methnmphetnmine(Schedule11).
         B.    Item 14 wasdeterm inedto be 6.32 + 0.05 gram sofm aterial,fotmd to contain

               Methnmphetnmine(Schedule11).
               Item 21 w as determ ined to be 27.76 + 0.05 gram sofm aterial,found to contain

               M ethamphetamine(Schedule11).
         D.    Item 22 w asdeterminedto be 138.32 + 0.05 grnm sofm aterial,found to contain

               M ethamphetnmine(Sèhedule11).
         E.    Item 23w asdeterminedto be2444.54+ 0.05 grnm sofm aterial,foundto contain

               M ethamphetnmine(Schedule11).


       l have review ed the above Statem entofFactsw ith m y attoràey and I agree thatitis
true and accurate. I further agree thatthe above facts are suflicientto'convictm e ofthe
offensets)towhich 1.am pleadingguilty.                                                    .
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                                                 D efend
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                                      Attorney fùfDefendant
